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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

QONDUIT, LLC                                   §
                                               §
v.                                             §   CASE NO. 6:14cv841-JDL
                                               §
NFP SECURITIES, INC.                           §

                                    FINAL JUDGMENT

      . Pursuant to Agreed Motion to Dismiss, the Court hereby enters Final Judgment. Plaintiff

Qonduit, LLC, filed suit against NFP Securities, Inc. on November 7, 2014. Since that time, all

Defendants have been dismissed in this case.

       IT IS HEREBY ORDERED that the above-entitled and numbered cause of action is

DISMISSED WITH PREJUDICE. All costs are to be borne by the party that incurred them.

       All motions by either party not previously ruled on are hereby DENIED.

       The Clerk of the Court is directed to close this case.
         SIGNED this 19th day of December, 2011.
        So ORDERED and SIGNED this 8th day of June, 2015.
